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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
SUSAN HOLLAND,
Plaintiff,

v. CASE NO.: 8:10-CV-2632-T-26TGW

BUREAU OF COLLECTION RECOVERY,

Defendant.
/

ORDER GRANTING STIPULATION TO DISMISS CASE WITH
PREJUDICE

IT IS HEREBY ORDERED that the parties’ joint Stipulation to Dismiss Case with
Prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), is GRANTED.
Accordingly, the above-captioned matter is hereby dismissed with prejudice, each side to bear
their own fees and costs.

IT IS SO ORDERED.

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Honorable Judge
United States District Judge
